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       In the United States Court of Federal Claims
                                    Case No. 03-2825C
                                 (FILED: October 3, 2008)
                                    TO BE PUBLISHED

 ***************************                    *   Jurisdictional prerequisites under
 M. MAROPAKIS CARPENTRY, INC.,                  *   Contract Disputes Act, 41 U.S.C.
                Plaintiff,                      *   § 605(a)-(c); Certified claim and
                                                *   contracting officer’s final decision;
  v.                                            *   Government counterclaim;
                                                *   Liquidated damages for delayed
 THE UNITED STATES OF AMERICA,                  *   contract performance; Defective
                Defendant.                      *   specifications; Sequence of
                                                *   performance; Variance request;
 ***************************                    *   Delay for discovery of lead based
                                                    paint.


       David W. Francis, Harrisburg, PA, for Plaintiff.

      Dawn S. Conrad, Department of Justice, Washington, D.C., for Defendant.
With her on the briefs were: Jeffrey S. Bucholtz, Acting Assistant Attorney General;
Jeanne E. Davidson, Director; and Donald E. Kinner, Assistant Director. Joshua D.
Harvey and Alan R. Caramella, Department of the Navy, Of Counsel.

       John Bergen, Law Clerk.

                                         OPINION

BASKIR, Judge.

       The plaintiff, M. Maropakis Carpentry, Inc. (Maropakis), alleges breach of
contract against the U.S. Department of the Navy. Citing various “delays, impacts and
disruptions,” plaintiff seeks damages resulting from the Navy’s denial of Maropakis’s
request to extend the time for completion of a construction project pursuant the
contract. See Complaint (Compl.). at ¶ 14; First Amended Complaint (Am. Compl.) at
¶ 10. The plaintiff moves for partial summary judgment, under the provisions of
Rule 56(c) of the Rules for the U.S. Court of Federal Claims (RCFC), leaving the
precise duration of the extension to which it claims it is entitled for determination at trial.

       The defendant moves to dismiss plaintiff’s complaint, pursuant to RCFC
12 (b)(1). The defendant also filed a cross-motion for summary judgment on the
majority of Maropakis’s claims, as well as on the government’s counterclaim for
liquidated damages assessed as a result of the contractor’s delayed performance.
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      For the reasons set forth below, we GRANT the defendant’s motion to
dismiss for lack of subject matter jurisdiction. The pending summary judgment
motions are largely rendered moot by virtue of our rulings on the motion to
dismiss. However, we consider below the government’s entitlement to liquidated
damages, and GRANT the defendant’s motion for summary judgment only as it
extends to the government’s counterclaim.

                                       BACKGROUND

I.    Factual Background

        These disputes arise in the context of a delayed government contract. As the
chronology below demonstrates, Maropakis did not commence performing the contract
until well after the anticipated completion date. The following background facts are
gleaned from the pleadings, various exhibits contained in the appendices
accompanying the briefs, and from the Consolidated Statement of Uncontroverted
Facts (CSUF). Based on the CSUF, a joint declaration filed after the primary briefing,
the circumstances leading the parties to the steps of the courthouse are largely
undisputed. In the rare instance in which the parties offer contradictory versions of a
legally significant fact or event, we address the matter more fully in the Discussion.

The Solicitation and Award of the Contract

       The Navy issued Solicitation No. N62472-97-B-4116 for the procurement of
construction and repair work on Building 110, a warehouse at the Naval Inventory
Control Point in Mechanicsburg, Pennsylvania. The project involved the demolition and
removal of asbestos-containing materials, the removal and replacement of windows and
roofing materials, and related work. See Solicitation; Def. App. at 25; 102. Maropakis
was one of 26 contractors competing for the contract.

      The solicitation contained a “NOTICE TO BIDDERS,” typical of federal
procurement, which provided that:

      All inquiries concerning the technical aspects of the attached
      specifications, or the drawings accompanying these specifications, must
      be requested in writing soon enough to allow a reply to reach all
      prospective bidders before the submission of their bids. Oral explanations
      or instructions given before the award of a contract will not be binding.

Def. App. 47 (emphasis in original).




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      The buildings in and around the project site were to be occupied throughout the
contract period. Accordingly, the Navy imposed a number of limitations on access and
scheduling to minimize interference with the ongoing operations of the buildings. See
Contract Section 01110, ¶¶ 1.4 (b); 1.7.5 and 1.7.5.1. The solicitation called for
performance in three distinct stages, as follows:

      TASK           DESCRIPTION

      I              Removal of existing cementitious asbestos siding and metal
                     framed windows on monitors [roof-level windows] and the
                     installation of new EIFS wall systems and window
                     assemblies.

      II             Removal of existing built-up roof systems and the installation
                     of new EPDM roof systems and associated work ... The
                     roofing work shall begin over Fire bay A (South Bay) and
                     proceed consecutively to Fire Bay D (North Bay).

      III            Completion of remaining work final cleanup of the premises, final
                     inspection, and project closeout.

Contract § 01110, ¶ 1.5 (a) (Work Sequence); Def. App. 104. Thus, the window project
was to be completed prior to the roofing system. This sequence requirement was
reiterated in several places in the contract. See Contract § 01110 at ¶ 1.7.5.1 (“special
scheduling for occupied buildings”); Contract § 01110, ¶ 1.4 (g) (“Schedule work so as
to avoid trafficking over completed work and newly installed roof systems.”); see also
Def. App. at 804 (“sequence of operation”). The Navy insisted on this requirement in
order to avoid the risk of damaging the new roof – the monitor windows on Building 110
are above the roof, and the only access to these windows is across the roof. Def. App.
726, 804.

       Prior to performing the contract work, Maropakis was to submit and have
approved its plans and materials for each phase of performance. The Navy’s
specifications were prepared by the architectural and engineering firm of Gale
Associates, Inc. (Gale). CSUF ¶ 9. Designer Gary Brown was the individual at Gale
responsible for preparing the project specifications. He was also responsible for
reviewing and approving drawings and submittals for all work to be performed on
Building 110. CSUF 26-28.

        On February 4, 1999, prospective contractors conducted a routine site visit. Two
weeks later, on February 18, the Navy amended the solicitation. Among the changes,
the project’s duration was increased from 210 to 270 calendar days. Amendment 1,
¶ (a); Def. App. 14. The amendment contained substantive revisions, as well: It



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specifically prohibited the formerly approved use of hot asphalt as a roof insulation
adhesive. Amendment 1 ¶ (n); Def. App. 15. Contractors were directed instead to use
polyurethane foam for this purpose. Id.

       Maropakis acknowledged the amended requirements with its offer – a bid of
$1,288,940. CSUF ¶ 3; see Def. App. at 16. On April 6, 1999, the Navy selected
Maropakis’s proposal. Pursuant to the revised schedule, the project was to be
completed on January 16, 2000. However, several post-award modifications were
issued by the Navy. One of these items, which we discuss in far greater detail below,
extended the contract period by 14 days. Def. App. 357-58. Yet another added 5 days
to the contract. Collectively, the modifications resulted in a revised completion date of
February 4, 2000, and brought the total contract price up to $1,297,151.

       As all prospective bidders were made aware, the contract incorporated the
liquidated damages provision found in section 52.211-12 of the Federal Acquisition
Regulations (FAR). In accordance with that provision:

       [i]f the Contractor fails to complete the work within the time period
       specified in the contract, or any extension, the Contractor shall pay to the
       Government as liquidated damages, the sum of $650 for each day of
       delay.

Contract, ¶ 1.4 (a) at Def. App. 67; 48 C.F.R. § 52.211-12 (Liquidated Damages –
Construction). This rate was determined by the contracting officer, James Nihoff,
based on the Government’s estimated cost for the project and in accordance with the
FAR. Nihoff Affidavit, Def. App. 451-52. The plaintiff expressed no objection to the
liquidated damages provision, and submitted an unqualified bid. Id. Consequently, any
unexcused delay beyond the revised February 4 completion date – absent a formal
extension – would make the contractor liable for this agreed-upon sum of damages.

Early Delays in Performance

       Under the terms of the contract, it was the plaintiff’s responsibility to provide all
labor and materials for the work to be performed, and to have them on hand prior to
commencing with any work on a given stage or performance task. Contract Section
01110, ¶ 1.4 (a); Def. App. 103. During the early stages of the contract, as it prepared
to begin the first phase of performance – removal and replacement of the monitor
windows – Maropakis encountered difficulties in finding a suitable window
manufacturer. Plaintiff first entered into a subcontract with Exterior Technologies, Inc.
(Extech). However, when Gale received plaintiff’s first submittal for Extech’s monitor
windows on July 26, 1999, they were deemed unsatisfactory; the submittal was
disapproved on August 13.




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        Upon receiving this news, Maropakis informed the Navy that it was unable to
locate a window manufacturer which “conform[s] to all the items in the contract
specifications.” Letter of Emmanuel Katerinis, Project Engineer; Def. App. 400.
Without elaborating on the peculiar problems encountered with the specifications, the
plaintiff’s engineer requested that the government provide contact information for three
window manufacturers that met the Navy’s specifications. Id. On August 23, 1999, the
Navy provided the names of “four (4) window manufacturers that manufacture window
assemblies such as those specified for the above reference contract.” Def. App. at
401.

      In the midst of the start-up delays for Task I, the window project, Maropakis
proceeded with the approval process for its proposed roofing work. As early as
June 25, 1999, the company sent in its roofing submittal. On July 19, the Navy’s
consultant disapproved the submittal, believing the accompanying manufacturer’s
information was outdated. Finally, on August 6, the plaintiff furnished Gale with its final
submittal for the roof assembly.

        Maropakis’s roof submittal indicated that the contractor intended to use Type III
asphalt for the roof, as opposed to the polyurethane-based product that the Navy
specifications called for. The submittal did not alert the recipient to the fact that it
conflicted with the express prohibitions of the amended solicitation. Nor did the
submittal, or any follow-up correspondence, request that the contracting officer relieve
Maropakis of the polyurethane requirement imposed by Amendment 2. (The FAR sets
out procedures for obtaining approval of deviations from contract requirements such as
these. See 48 C.F.R. § 52.236-21 (e)-(f)).

       On August 9, Gale approved the roof assembly submittal as presented. Plaintiff
was notified of the approval on August 23. Despite the obstacles in getting the windows
approved, Maropakis evidently assumed that its roof system submittal, at least, was on
track.

Requests to Modify Construction Sequence

        By early September, the Navy’s contracting personnel began to express
concerns regarding Maropakis’s ability to meet the target completion date. On
September 9, 1999, the Navy issued Maropakis a 10-day cure notice, warning the
contractor that “the Government considers [Maropakis’s] failure to perform any on site
work, provide approved window submittals or provide a Construction Schedule
conditions that are endangering performance of the contract.” Def. App. 402. The
plaintiff responded on September 14, in correspondence addressed to Lieutenant
Larsen, Assistant Officer in Charge (OIC) at the Naval Inventory Control Point, again
citing “great difficulty in obtaining the specified windows,” and indicating that it is
following up on the window manufacturer leads provided by the Navy. Id. The
September 14 response also referenced and renewed earlier unsuccessful requests

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made to the Navy’s project manager, Robert Rosenberry, to adjust the sequence of the
roof work in order to mitigate the delay in obtaining windows.

       Not surprisingly, the defendant did not react favorably to the fact that its cure
notice was met not with an assurance that Maropakis will satisfy its performance
obligations, but rather with an already rejected counter-approach to proceed
immediately on a later stage of the contract. On September 16, the Navy addressed
the repeated requests to shift project phases. See Letter of Lieutenant Larsen; Def.
App. 404. Lieutenant Larsen echoed the response of the procurement officials who
had already been lobbied on this subject. In pertinent part, he wrote:

       1. In response to your letter ... [t]he contract performance period is
       270 days, which includes time to submit, get approval and order windows.
       Below are the specification sections that require the windows to be
       installed first.

       2. Specification section 01110, para. 1.4, Special Scheduling Requirements
       states that the monitor windows are required to be at the job site prior to
       commencement of work. Section 01110, para. 1.5, Construction Sequence,
       Task I, requires the installation of the new windows prior to installation of the
       roof system, Task II.

       3. The contract was written in this manner to meet the building occupant
       request. The customer needs have not changed and therefore, the
       window installation must be performed prior to the removal of the existing
       roof. Your request to start roof work is regrettably denied.

Id.

       Then, on September 20, the plaintiff issued a second, more direct response to
the Navy’s September 9 cure notice, in which it reiterated that it “has not been able to
commence physical work for reasons that there has not been any window manufacturer
that meets the contract specifications.” Letter of Sal Cali, Project Engineer; Def. App.
405. Although we have seen no independent verification of the fact, and the CSUF is
conspicuously silent on the issue, Maropakis claims in the letter that the previously
provided list of approved window manufacturers could not meet the specifications. Id.
The plaintiff’s letter fails to offer any specific justification for contract delay or to make a
formal request for a contract extension. Although the letter references enclosed
“window test reports,” it does not tie the information to a specific procurement infraction
or lodge a formal objection to the specifications. Nevertheless, in this correspondence
Maropakis for the first time suggests that the window requirements should be
reconsidered by the Navy:

       As it can be seen from our previous correspondence and attached window
       technical data [not included or referenced in the parties briefs or exhibits],

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      there are not any window manufacturers that meet the specifications. It
      may be necessary for the Navy to review and modify the window
      requirements. Otherwise, please provide my office with a list of window
      manufacturers that do meet the specifications.

Id. Maropakis concluded this correspondence by making yet again a request to
commence the roof work immediately, noting that the parties might take advantage of
the favorable weather and avoid further delay based on what plaintiff predicted to be a
twelve-week manufacturing period once a window supplier had been identified. Id.

Locating a Window Manufacturer

         Plaintiff’s suggestion concerning modification of window specifications was
soon overtaken by events. Upon receipt of Maropakis’s September 20, 1999,
correspondence, the government on October 22, 1999, provided the plaintiff with the
names of three additional window manufacturers that had not been included on the first
list furnished Maropakis. These suppliers had been contacted by the Navy on plaintiff’s
behalf, and each reportedly confirmed their ability to meet the Navy’s specific window
requirements. Def. App. 408-09. Soon thereafter the plaintiff received word from one
of those suppliers, J. Sussmen, Inc., that it carried a window that did indeed meet the
specifications.

      This latest Navy communication with Maropakis ultimately did more than merely
pass on referrals. At this late juncture in the 270-day contract period, the Navy also
made it a point to state its position that Maropakis had failed in its September 20, 1999,
correspondence to adequately address the items in the cure notice. Def. App. 408.
Moreover, the Navy again explained that it would not permit a modification of the
construction sequence. Id. And, finally, the Navy repeated the warnings of its earlier
cure notice. Specifically, it threatened to terminate the contract for default and
demanded that Maropakis provide a commitment to procure the specified windows and
submit a new schedule for completion of work. Id. at 409.

       On October 29, 1999, one day in advance of the deadline contained in the
government’s second cure notice, Maropakis answered with a revised construction
schedule, and indicated that: “On Monday morning, November 1, 1999, Maropakis will
be on site with an approved window installer from J. Sussman, Inc., to review the
existing conditions.” Def. App. 410.

Satisfaction of Window Specifications

        Plaintiff’s efforts to prepare for Task I are poorly documented. A
contemporaneous record of the specific obstacles encountered in the search for
monitor windows was never developed. The plaintiff’s pleadings and briefs indicate that
the window specifications included higher than usual testing standards for certain
qualities. Indeed, the solicitation itself provide that the “[w]indows shall conform to

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specified [industry] standards and the following, whichever are more stringent.”
Solicitation ¶ 2.1.4 (“specific performance requirements”) (emphasis added); Def. App.
288.

       Among the most contentious of the specifications are the standards for water
resistance. Naval personnel directly involved in this procurement acknowledged the
unusually high standard. On November 2, 1999, after the search for a window
manufacturer finally came to a close, internal email correspondence from project
engineer/design manager Lonnie Moyer acknowledged that a 20 psf water resistance
requirement was in error, and that in fact, “[t]his requirement should have been 10 psf
or perhaps even lower.” Def. App. 396. Based on this same email, however, it is clear
that Mr. Rosenberry was made aware of the higher testing criterion and recognized that
it would be unfair to the other bidders to apply a lesser standard to the successful
offeror. Id.

Work Begins

       On January 4, 2000 – less than two weeks from the contract completion deadline
– the Navy received Maropakis’s re-submittal for the monitor windows. See Contract
Log (entry 19); see also CSUF ¶ 74. The drawings for the monitor windows were not
received by Gale Associates until February 29, 2000; the approving official, Gary
Brown, did not sign off on the drawings until March 3, 2000. Def. App. 446; CSUF ¶ 77.

        One day prior to the actual approval on March 2, 1999, J. Sussman notified
Maropakis through its subcontractor, Yon Con United, Corp., that the windows had
been fabricated and were ready to be picked up. It is at this point, according to
Maropakis’s project engineer, Mr. Abdulqader Rangwalla, that the company was “ready
to mobilize and prepared to commence” with the actual work on the building. See
CSUF ¶ 107. Although the timing of the purported mobilization is disputed, we can at
least infer that the plaintiff was prepared to commence with the physical construction
work even if it could not officially commence performance prior to delivery of the
windows. See Contract Section 01110, ¶ 1.4 (a); Def. App. 103.

Delays Due to the Presence of Lead Paint

        It is also at this juncture, when Maropakis allegedly had made the final
preparations necessary to begin the removal of the existing monitor windows, that a
new obstacle to performance surfaced. The precise date is subject to dispute. We are
informed by Mr. Rangwalla’s deposition testimony that on or about March 7, 2000, he
recalls telling the window subcontractor to hold off on delivering the windows to the
construction site because of the possible presence of lead-based paint (LBP) on the
existing windows. Rangwalla Deposition (depo.) at Def. App. 843; see also CSUF
¶ 107 (disputed). Because LBP is a regulated hazardous substance, the Navy was
required to ensure certain precautions were observed in the removal and disposal of
the windows.

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         Pursuant to the contract, upon encountering possible hazardous substances
Maropakis was required to “stop that portion of work and notify the contracting officer
immediately.” See Contract ¶ 3.1.2 (“Unforeseen Hazardous Material”); Def. App. 180.
The government would then investigate and determine whether to issue a modification.
Id. It is not clear precisely when Mr. Rangwalla informed the Navy of his suspicions
concerning LBP. We have only a series of conflicting accounts from which to piece
together a proper time line: (1) Maropakis began independent examinations of the
window covering on March 22, see CSUF ¶¶ 109-11; and (2) Mr. Rosenberry’s phone
log indicates that Maropakis first asked the Navy about LBP on April 6, see CSUF
¶ 112. The actual date that the test results were known to all is likewise subject to
dispute. What is important for purposes of this chronology is that at some point
between April 6, 2000 and April 26, 2000, the presence of lead on the monitor windows
was confirmed. CSUF ¶¶ 111-15. Subsequently, on May 5, the Navy directed
Maropakis not to begin demolition activities until further notice. CSUF ¶ 116.

       On May 31, prior to receiving any further word on the LBP problem, the plaintiff’s
windows were delivered to the job site. Def. App. at 418. By letter dated June 7, 2000,
Maropakis pressed the Navy for direction on how to proceed, emphasizing that its
materials had been delivered to the site and that the company was prepared to
commence work immediately. Mr. Rosenberry called Maropakis on June 12 to express
the government’s position that the plaintiff was not authorized to begin work,
irrespective of the LBP stoppage. He advised Maropakis that: (1) it must have
approved submittals prior to beginning work on the roof (adhesive submittals had not
yet been approved); (2) its materials are required to be at job site prior to starting work;
and (3) All Quality Control personnel have not been approved.

        Meanwhile, the parties proceeded with negotiations on an appropriate
modification for the extra time and expense associated with removing the windows with
the added requirement to abate LBP. Ultimately, the parties settled on a modification
that increased the contract price by $6,154 and added 14 days of work to the project;
the Government accepted the responsibility to dispose of the hazardous materials.
Def. App. 416-17. On June 22, the Navy authorized Maropakis to resume work pending
the formal modification, which was subsequently issued on June 30.

        Although there is no indication that more than 14 days was required to do the
added work, Mr. Rangwalla refused to sign the modification document as drafted.
Maropakis was unwilling to agree to a 14-day extension, given the duration of the
delays it had thus far experienced, both as a result of the LBP discovery and the
plaintiff’s inability to find suitable windows. CSUF ¶¶ 120-21. Consequently, the Navy
issued a unilateral modification while acknowledging the plaintiff’s disclaimers:

       The contractor during negotiations agreed to the sum of $6,154.00 and
       14 calendar days time extension for removal of windows as lead
       contaminated. However, the contractor signed a faxed copy of the
       Change Order agreeing to the sum of $6,154.00, dis-agreeing (sic) to the

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       14 day time extension. The contractor wrote in a 360 day time extension
       in lieu of the 14 day time extension. The 14-calendar day time extension
       is considered more than reasonable to accomplish this work. The
       contractor stated that there were other reasons that he was entitled to this
       time extension, which had nothing to do with this modification.

Def. App. 419 (Rosenberry memo to file); see also Def. App. 420-21 (contract
modification with handwritten exceptions).

       On June 30, 2000, plaintiff formally objected to the modification and requested
that the contract completion date be extended 365 days from January 16, 2000 to
January 16, 2001. Def. App. 422. In a second letter to the contracting officer dated
July 10, 2000, plaintiff again objected to the extension and this time requested an
extension of 122 calendar days. This represented the total time lost on the contract
due to the discovery and abatement of lead paint: 108 days from the original start date
of March 7, 2000 to June 22, 2000 – the date that the Navy cleared them to resume
work -- and 14 days for removal. Def. App. 425-26.

Prohibited Asphalt Discovered

        In the midst of the controversial LBP modifications, Mr. Rosenberry noticed,
apparently for the first time on June 26, 2000, that Maropakis had assembled asphalt
for the roof work it intended to embark on after the window installation phase.
According to his log, Mr. Rosenberry informed the plaintiff on June 28, 2000, that the
asphalt materials on-site could not be used. Def. App. 394.

       The roofing submittal, which signaled the plaintiff’s intention to use asphalt as
the means of attaching the roofing insulation, had been received and approved by Gale
Associates almost a year earlier. See Gale Associates Approval Document at Def.
App. 449-50 (transmittal letter contains a stamp of approval, signed by Mr. Rosenberry
on August 19, 1999). However, neither the submittal nor its approval acknowledged
that the use of asphalt was inconsistent with the contract specifications. Id. The
asphalt was subsequently delivered to the site and apparently was not addressed again
until Mr. Rosenberry’s discovery.

        When confronted by Mr. Rosenberry on June 28, 2000, the plaintiff invoked the
earlier submittal approval. According to the log notes, Mr. Rosenberry countered that
Maropakis’s quality control certification indicated that the submittal met the contract
specifications, including Amendment 2, which specifically prohibited the use of asphalt.
Def. App. 394. Ultimately, the plaintiff acceded to the government’s insistence and
arranged for the delivery of the proper roofing materials, turning its attention back to the
ongoing window project.

      Maropakis had not pursued a formal modification of the adhesive specifications
when the requirements were initially imposed via Amendment 2. Nor did it do so at this

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point when confronted by Mr. Rosenberry. In fact, Maropakis did not raise the asphalt
issue again until several months after the completion of the entire project, in an all-
encompassing retroactive request for an extension of the contract. Def. App. 371-74.

Contract Performance and Delay

        Following the two June 2000 events – the Navy’s enforcement of the adhesive
materials provision and the unilateral modification for removal of LBP – the plaintiff was
moved to seek additional time in which to complete the contract. As we previously
indicated, the plaintiff sent the contracting officer two conflicting extension requests in
response to the Navy’s 14-day modification for lead abatement. The second of these,
the July 10 request, contained the subject heading “Extension of Time for Change
Order P00001." Def. App. 425-26. In that document the contractor contended that it
was unable to begin work from March 7 through June 22 because the Navy would not
permit any demolition of windows during the investigation of the LBP issue and had
previously declined the plaintiff’s requests to commence work on other phases of the
project. Id. Maropakis did not mention any other grounds for extension at this time.
The contracting officer did not respond to this request, although the same request had
effectively been denied when the unilateral modification had been issued ten days
earlier.

        Several months passed, during which demolition and construction activities were
performed by the plaintiff. Then, on November 30, 2000, the contracting OIC sent a
letter stating the following:

       This contract provides for all work to be complete by 16 January 2000.
       The work, to date, has not been completed and three hundred nineteen
       (319) calendar days have elapsed since the contract completion date.

       The contract further provides that liquidated damages at the rate of
       $650.00 per calendar day shall be assessed for each calendar day of
       delay which the Contractor cannot substantiate as being beyond the
       control and without the fault or negligence of the Contractor, his
       subcontractors (at any tier) and within the purview of FAR Clause
       52.249-10 [providing for termination for default] of the contract.

Def. App. 427. The letter then advised the plaintiff to submit “at the earliest practical
time” its application for time extension accompanied by substantiating data (the letter
described the specific level of corroboration required). Id. The plaintiff was also
directed to “identify the specific days, the number of days lost by reason of such delays
and that such delays impacted the critical path.” Id. In closing, the contracting officer
promised that the formal application would be given prompt consideration upon receipt.
Id. at 428.



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       There is a gap in correspondence between the parties following the November
cure notice. However, during this period the defendant again pressed the plaintiff to
perfect a formal extension application, as evidenced by the following entries in
Mr. Rosenberry’s log:

       [Entry 44.]   Feb. 01. Phoned Maropakis, asking when they plan to
                     return to complete job. Contractor gave no direct answer.
                     Ask him again about documentation for time extension.
                     Contractor said he is working on it.

       [Entry 45.]   4/10/01 Phoned Maropakis, Abdule requesting additional
                     information to justify their request for time extension.
                     Requested additional info, phone dates, memo on their
                     effort to obtain a window supplier. I was told by Abdule that
                     there was no records of phone dates, memos or info. Also
                     tried to set a date to have a meeting with contractor to
                     discuss his request for time extension.

Def. App. 394-95.

       On May 17, 2001, the project was completed and passed inspection. Def. App.
429-30. The Navy assumed full “use and possession” under the contract. Personnel
had continued their occupancy of the building for the better part of the contract period –
467 days beyond the contract completion date. Nihoff Affidavit, Def. App. 451–52.
With the completion of the project, the plaintiff finally turned its attention toward a formal
application for extension.

August 20, 2001 Application for Extension

       By letter dated August 20, 2001, “Re: Final Extension of Contract Time,”
Mr. Rangwalla detailed a 19-point chronology addressing each of the delays Maropakis
encountered during the contract period and beyond. Def. App. 371–74. He included a
section captioned “Time Detailed Information,” capturing time lost during distinct
periods of performance. Id.

       According to the letter, the plaintiff purportedly suffered the following delays:
(1) 187 days from April 22-October 25, 1999, addressing the difficulty in locating a
window supplier (the plaintiff made no claim of defective or ambiguous specifications);
(2) 32 days from January 10-February 10, 2000, in time lost from the start date of
fabrication of windows due to the need to re-submit plans; (3) 107 days from March 7-
June 21, 2000, due to the discovery and abatement of LBP on the existing monitor
windows; (4) 20 days from June 22-July 11, 2000, as a result of halting preparations for
the roofing system installation when the Navy insisted on the use of adhesive instead of


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asphalt; and (5) 101 days for time lost searching for a metal fabricator during the
July 7-October 20, 2000 period. According to the letter, the “total extension of time
required is up to April 7, 2001 [elsewhere in the letter, April 17, 2001] 447 consecutive
calendar days.” Id. at 374. Mr. Rangwalla provided no substantiating documents with
the request.

Initial Response to Maropakis’s Extension Request

        Despite the fact that the plaintiff’s request had not been addressed to him, the
contracting officer promptly replied to the August 20 letter. On August 28, 2001, the
contracting officer “determined that [plaintiff] ha[s] not presented sufficient justification
to warrant the time extension you have requested.” Def. App. 369. With respect to the
first two periods, totaling 219 days, the contracting officer wrote:

       You have stated that your delays associated with obtaining the specified
       windows started on April 22, 1999. You did not notify the government of
       your difficulty in locating a supplier until 19 August 1999. You have
       documented contacts with several window suppliers, but you have not
       shown for all of the suppliers you contacted, why they could not meet the
       specification; nor have you demonstrated why you had difficulty finding a
       supplier that met the specification.

Id.

      Similarly, the contracting officer rejected the 107-day time extension for the
removal of the LBP-contaminated windows based on his understanding that the
materials had not been delivered to the project site prior to commencing work under the
contract. Id.

       Then turning his attention to the 20-day extension associated with the Navy’s
refusal to approve the use of asphalt on the roofing system, the contracting officer
noted:

       Amendment 2 to the contract, issued during solicitation and
       acknowledged by your company prior to contract award requires the use
       of adhesive. In accordance with FAR clause 52.246-12 Inspection of
       Construction, the presence or absence of a government inspector doesn’t
       relieve the contractor of any contractual requirement. No variation to the
       contract was ever requested by your company, in accordance with
       specification section 01330 paragraph 1.3.3 and the associated delays
       are attributed to the contractor.

Id. at 369-70.



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        Finally, the contracting officer addressed a 101-day delay associated with
difficulties in locating a sheet metal manufacturer. The rationale for this extension
paralleled plaintiff’s explanations respecting suppliers of windows, and was dealt with
similarly by the contracting officer. In treating the sheet metal delays, however, the
contracting officer noted an independent defect in the requested extension: the delay
periods for the adhesive and those for the sheet metal overlap. Id. at 370. Moreover,
the alleged delay in rectifying the adhesive materials issue occurred during Maropakis’s
work on the window removal/ installation project. Id. Therefore, it could not have
impacted the plaintiff’s schedule until Phase I (window installation) of the contract was
completed and Phase II (roof replacement) was set to commence.

       The letter closed with a standard explanation of the contractor’s rights.
Specifically, Maropakis was informed, “[i]f you disagree with this determination, you
may request a decision of the Contracting Officer pursuant to the provisions of the
Disputes Clause of your contract.” Id. The letter further concluded:

       You may submit information and you may request the previous
       correspondence concerning this matter be forwarded to the Contracting
       Officer for further review and determination.

       This letter is not a Final Decision of the Contracting Officer.

Id. (emphasis added).

Demand for Liquidated Damages

        The plaintiff never replied to the contracting officer’s August 28, 2001 letter,
either by supplying additional information or requesting a final decision on its extension
requests. See Nihoff letter dated Aug. 28, 2001 at Def. App. 370. There was nothing
signifying to the Navy that the plaintiff intended to follow up on these items.

        The next correspondence in the record is dated June 28, 2002, a full 10 months
after the denial of plaintiff’s requests. Def. App. 800. But it is the Navy, not Maropakis,
which breaks the long period of silence. (The papers contain an identical version of this
letter dated July 18, 2002, and it is this later version that is cited in the CSUF. See
CSUF ¶ 18; Def. App. 367–68). After first noting that Maropakis had “not responded
with additional information or requested a Contracting Officers (sic) final decision” for
the 447-day extension request, the defendant assessed liquidated damages against the
contractor in accordance with the $650 per day rate set forth in the contract. Def. App.
367. Based on the Navy’s earlier determination that the Maropakis finished the project
467 days after the contractual completion date, plaintiff was found liable for $303,550 in
liquidated damages. Id. This figure was applied against the contract balance of
$244,035, resulting in a net liability of $59,514. Id. The plaintiff was allowed 30 days to


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remit payment or request deferment, after which period the contracting officer would
issue a final decision pursuant to the contract’s disputes clause. Id. at 367-68.

July 22, 2002 Response to the Demand for Liquidated Damages

       The plaintiff responded to the demand for liquidated damages on July 22, 2002.
Maropakis reiterated its earlier request for an extension, mentioning only the 107-day
extension for the removal of lead contaminated windows. Def. App. 802. For the first
time since the Contracting Officer’s August 28, 2001 letter, the plaintiff responded to the
Navy’s rationale for rejecting the LBP delays. According to the plaintiff, the 107-day
extension caused by the LBP work stoppage is “correct and justifiable.” Id. Maropakis
acknowledged the contractual requirement that materials be on-site prior to the
beginning of the window work, and conceded that the plaintiff’s windows had not been
delivered until May 31, as the Contracting Officer found. Id. According to the plaintiff,
however, the windows were ready for delivery prior to that date – the contractor does
not state since when – “but Mr. Rosenberry from your office verbally directed us not to
deliver and start installation of windows until we resolve the problem related to [LBP].”
Id.

       Therefore, plaintiff asserted, “we will dispute ... the liquidated damages amount
of $303,550.00 and will indicate that M. Maropakis was not responsible for the delays.
Id. (emphasis added). The July 22 response made no mention of the remainder of the
previously asserted and rejected extensions, nor did it contest the propriety of enforcing
liquidated damages, in general. There was no follow-up correspondence between the
parties after this exchange, nor did the plaintiff follow through on what appeared to be a
promise to file a separate formal claim.

         The Navy did not issue a written response to the plaintiff’s stated intention that it
“will” dispute responsibility for delays and dispute the quantum of liquidated damages.
According to the pleadings, however, the parties met on October 31, 2002, at which
time “Maropakis presented additional information to the Navy demonstrating delay as a
result of the atypical window specifications and other documentation supporting its
claim for an extension of time.” Compl. ¶ 78. During the briefing of the pending
motions neither party elaborated on this meeting or on the alleged exchange of
information. Nor is there any documentation, contemporaneous or otherwise, to
elucidate the matters discussed. However, the meeting was specifically cited by the
Contracting Officer when taking final action on what the government contends was
simply the liquidated damages piece of this case.

Final Decision of the Contracting Officer

      On December 20, 2002, the Navy issued Final Decision #03-002F, which
provides, in pertinent part:

       Reference is made to our Demand letter to you dated June 28, 2002.

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       After reviewing your letter dated July 22, 2002 and the information
       presented at the 31 October 2002 meeting at Engineering Field Activity,
       Northeast, the Contracting Officer has determined that there has been no
       new information presented to change our position. Therefore, we reiterate
       our demand that you are liable to the navy for the difference between the
       remaining contract balance of $244,035.00 and $303,550.00, the total
       amount of liquidated damages due and owing the Government.

                                     *       *      *

       This is the Final Decision of the Contracting officer. This decision may be
       appealed to the Armed Services Board of Contract Appeals, which is the
       authorized representative of the Secretary of the Navy for hearing and
       determining contract disputes.

Def. App. 365-66.

       The plaintiff’s and the defendant’s characterizations of this letter differ. CSUF
¶¶ 20-21. Whereas the government limits the final decision to the Navy’s demand for
liquidated damages, the plaintiff contends that the final decision applies to each of its
previous “claims” for extension of the contract period. Id. As we shall discuss shortly,
the case turns on this issue.

II.    Procedural History

      Approximately one year elapsed without any further claim activity at either the
contracting officer level or at the Board of Contract Appeals. On December 17, 2003,
Maropakis filed a Complaint in this Court.

        Maropakis avers that it is entitled to compensatory damages in the amount of
$244,036 for the contract balance, “rescission (sic) of liquidated damages,” and interest
and attorneys’ fees. See Am. Compl. (Request for Relief). In support of its request, the
pleading alleges several categories of “delays, impacts, and disruptions,” including:
impacts due to non-traditional window specifications, Compl., ¶¶ 15-39; impacts
resulting from the unanticipated presence of lead paint, Compl., ¶¶ 40-61; delay relating
to roof materials, Compl., ¶¶ 62-69; and delay due to unusually severe weather
conditions, Compl., ¶¶ 70-72.

        Subsequently, on September 15, 2005, after discovery had concluded, the
plaintiff filed its First Amended Complaint. Maropakis refined its “window claim,” and
now alleged a series of defects in the Navy’s specifications, a contention which had not
been formally raised before. See First Amended Complaint, ¶¶ 11-31. It repeated the
original assertions with respect to the lead paint delays, id. at ¶¶ 32-36, and the Navy’s
untimely rejection of Maropakis’s roofing materials, id. at ¶¶ 37-44. Finally, it added


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several items that had been omitted from the original pleading, namely: the Navy’s
refusal to permit Maropakis to begin roof removal and replacement work, id. at ¶¶ 45-
47, delays associated with “improper review of submittals,” id. at ¶¶ 48-49, and
remission of liquidated damages, id. at ¶¶ 50-52. With respect to this last item, the
plaintiff for the first time in this dispute challenged liquidated damages, not just as to the
amount or the period of delay attributable to its own conduct, but also because “the
Navy did not incur additional costs justifying the imposition of liquidated damages.” Id.
at ¶ 51.

       These allegations were met with the government’s answer and a four-paragraph
counterclaim, in the amount of $59,514, representing the unpaid balance of the
assessed liquidated damages. Maropakis’s answer to the defendant’s counterclaim
denies its own culpability in failing to timely perform its contractual obligations, and
raises a series of affirmative defenses to the demand for liquidated damages.

        Plaintiff moved for partial summary judgment, limited to its claims regarding the
allegedly defective monitor window specifications and its entitlement to an additional
extension for the unanticipated abatement of lead paint on the windows. With regard to
the latter, however, “Maropakis requests that the duration of these delays be
established at trial.” Plaintiff’s Brief (Pl. Br.) 1. This, of course, marks a retreat from
plaintiff’s earlier insistence that it is entitled to a 122-day extension for the period
March 7 through June 21, 2000. See Compl. ¶ 61; First Am. Compl. ¶ 34; compare
Rangwalla letter, dated Aug. 20, 2001 (requests LBP extension of 107 days, taking into
account 14-day extension approved by unilateral modification).

        The government moved to dismiss for lack of subject matter jurisdiction the
portions of Maropakis’s complaint relating to its claim for government-caused delay.
Defendant’s Brief (Def. Br.) 20. According to the defendant, Maropakis never submitted
a certified claim requesting a final decision from the contracting officer and, therefore,
failed to meet the jurisdictional prerequisites of the Contract Disputes Act, 41 U.S.C.
§ 609(a). The government also seeks summary judgment as to liquidated damages
demanded by the contracting officer. It further moves for summary judgment on the
majority of the contentions within the plaintiff’s amended complaint. In particular, the
government seeks judgment as a matter of law on the plaintiff’s assertions: (1) that the
Navy’s window specifications were defective; (2) that the Government’s implicitly waived
the non-asphalt materials requirement when it approved plaintiff’s submittal; and
(3) that the Government unreasonably failed to change the contract’s sequence of
performance. Interestingly, however, the defendant does not demand summary
judgment on the claims relating to LBP.

        On June 11, 2008, this Court heard oral arguments on the above motions.
During the argument, plaintiff’s counsel presented new arguments that had not been
fully developed during the briefing. Furthermore, in responding to questions posed from



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the bench, counsel indicated that he could produce authority directly related to the
Court’s jurisdictional inquiry. Accordingly, we permitted the parties to file supplemental
papers, with the briefing to be completed by July 21, 2008.

                                       DISCUSSION

I.     The Government’s Motion to Dismiss

Subject Matter Jurisdiction

       The Tucker Act, 28 U.S.C. § 1491 (a)(2), provides that “[t]he Court of Federal
Claims shall have jurisdiction to render judgment upon any claim by or against, or
dispute with, a contractor arising under ... the Contract Disputes Act of 1978, including
a dispute concerning termination of a contract, rights in tangible or intangible property,
compliance with cost accounting standards, and other nonmonetary disputes on which
a decision of the contracting officer has been issued under section 6 of that Act.” Id.

        Accordingly, plaintiff’s claims are governed by the Contract Disputes Act (CDA),
41 U.S.C. §§ 601, et. seq. Pursuant to that authority, contractors are required first to
pursue claims with the contracting officer, the official charged with administering that
particular government contract on behalf of the agency. 41 U.S.C. §§ 605(a), 609(a).
This requirement, along with procedural requirements applicable to the claim, are
considered “jurisdictional prerequisites” to filing an action in the Court of Federal
Claims. Sharman Co., Inc. v. United States, 2 F.3d 1564, 1568-69 n.6 (Fed. Cir. 1993),
overruled on other grounds by Reflectone, Inc. v. Dalton, 60 F.3d 1572 (Fed. Cir. 1995);
North Star Alaskan Housing Corp. v. United States, 76 Fed. Cl. 158, 183-84 (2007).
But see Davies Precision Machining, Inc. v. United States, 35 Fed. Cl. 651, 655-56
(1996) (treating failure to satisfy CDA requirements as failure to state a claim on which
relief can be granted).

        It is the plaintiff’s burden to establish jurisdiction by a preponderance of the
evidence. Alder Terrace, Inc. v. United States, 161 F.3d 1372, 1377 (Fed. Cir. 1998)
(citing McNutt v. General Motors Acceptance Corp., 298 U.S.178, 189 (1936));
Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). When,
as in this case, the government challenges jurisdiction pursuant to RCFC 12 (b)(1), we
construe the allegations of the Complaint favorably to the pleader. Scheurer v. Rhodes,
416 U.S. 232, 236 (1974). However, it is also incumbent upon the Court to decide any
disputed facts that are relevant to the issue of jurisdiction. Reynolds, 846 F.2d at 747.

Threshold Requirements for Valid CDA Claim

       Pursuant to the CDA, “[a]ll claims by a contractor against the Government
relating to a contract shall be in writing and shall be submitted to the contracting officer
for a decision.” 41 U.S.C. § 605(a). Furthermore, claims over $100,000 must be


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certified by the contractor. Id. at § 605 (c)(1). Although the statute does not define the
term, the FAR defines a “claim” in the following manner:

       Claim means a written demand or written assertion by one of the
       contracting parties seeking, as a matter of right, the payment of money in
       a sum certain, the adjustment or interpretation of contract terms, or other
       relief arising under or relating to the contract. However, a written demand
       or written assertion by the contractor seeking the payment of money
       exceeding $100,000 is not a claim under the Contract Disputes Act of
       1978 until certified as required by the Act. A voucher, invoice, or other
       routine request for payment that is not in dispute when submitted is not a
       claim. The submission may be converted to a claim, by written notice to
       the contracting officer as provided in 33.206(a), if it is disputed either as to
       liability or amount or is not acted upon in a reasonable time.

48 C.F.R. § 2.101.

      The Court of Appeals has held that no particular form or wording is necessary;
however, a claim under the CDA requires “a clear and unequivocal statement that gives
the contracting officer adequate notice of the basis and amount of the claim.” Contract
Cleaning Maintenance, Inc. v. United States, 811 F.2d 586, 592 (Fed. Cir. 1987);
Hawkins & Power Aviation, Inc. v. United States, 46 Fed. Cl. 238, 243 (2000).

       A claim for CDA purposes is more than a routine demand or invitation to
negotiate with the contracting officer. The contractor must seek a final decision on the
matter in question and assert a legal right to that which is requested. Mingus
Constructors, Inc. v. United States, 812 F.2d 1387, 1395 (Fed. Cir. 1987). This Court’s
predecessor, the United States Claims Court, has looked to the following factors in
determining whether a contractor’s written demand qualifies as a claim under the CDA:

       [w]hether the letter clearly and unequivocally (1) asserted specific rights;
       (2) requested specific relief of a sum certain; (3) requested a final
       decision; and (4) whether the letter, in conjunction with the totality of the
       circumstances, was sent in the context of an ongoing dispute between the
       parties as to which they had previously abandoned negotiations.

Sun Eagle Corp. v. United States, 23 Cl. Ct. 465, 471 (1991). A careful review of these
factors in the context of Maropakis’s claims leads us to conclude that CDA jurisdiction
over those claims is lacking.

Plaintiffs “Claims” at a Glance

       The government’s motion to dismiss goes to the entirety of plaintiff’s First
Amended Complaint, except for plaintiff’s request for remission of liquidated damages,
which the defendant concedes is properly before the Court.

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      The subjects listed below represent categories of objections or reasons for delay.
Each was relied upon by Maropakis to a greater or lesser degree in attempting to
extend the period for completing the project. As is indicated in the recitation of
background facts, the plaintiff raised other grounds for extensions, such as severe
weather delays and difficulties in obtaining sheet metal. Those objections have
apparently been abandoned by Maropakis, however, and do not warrant further
consideration.

      (i.)   Window Specifications

        As we have seen, Maropakis’s early letters to Naval personnel overseeing the
work explained the late start on contract performance by vaguely describing problems
in finding a window manufacturer that “conform[s] to all the items in the contract
specifications.” Letter of Emmanuel Katerinis, Project Engineer, dated Aug. 19, 1999,
at Def. App. 400; see also Letter of Sal Cali, Project Engineer, dated Sept. 14, 1999, at
Def. App. 403 (“M. Maropakis has incurred great difficulty in obtaining the specified
windows.”) There was no formal request for an extension or equitable adjustment of the
contract period contemporaneous with the delays experienced by Maropakis. Indeed,
this early correspondence was not even addressed to the contracting officer.

       We recognize the contractor need not invoke certain magic words or explicitly
request a final decision. James M. Ellett Const. Co. v. United States, 93 F.3d 1537,
1543 (Fed. Cir. 1996); Contract Cleaning, 811 F.2d at 592. However, there are three
characteristics which define a nonroutine submission as a “claim” under the CDA. The
submission must be: “(1) a written demand or assertion, (2) seeking as a matter of right,
(3) the payment of money in a sum certain.” Ellett, 93 F.3d at 1542-43. A mere
settlement proposal is insufficient. Id. at 1544. A claim signifies an impasse in
negotiations, whereupon the contractor resorts to the final step of submitting its demand
to the contracting officer for a final decision. See McDonnell Douglas Corp., v.
United States, 37 Fed. Cl. 285, 291 (1997) (quoting Ellett, 93 F.3d at 1543-44), rev’d on
other grounds in McDonnell Douglas Corp. v. United States, 182 F.3d 1319 (Fed. Cir.
1999); see also Medina Constr., Ltd. v. United States, 43 Fed. Cl. 537, 548-49 (1999)
(discussing impasse requirement for termination settlement proposal).

       The plaintiff’s correspondence to personnel other than the contracting officer, in
which the plaintiff suggested “[i]t may be necessary for the Navy to review and modify
the window requirements,” hardly qualifies as such a demand or assertion. See Letter
of Sal Cali, Project Engineer, to Lieutenant Commander M.A. Weaver, dated Sept. 20,
1999; Def. App at 405 (emphasis added). Maropakis’s initial correspondence
concerning the procurement of windows made no demand for additional money or
adjustment of the contract period. At most, the contractor attempted to work with its
employer in order to mitigate the delay both in pursuing referrals for manufacturers and
in seeking permission to do work out of sequence.



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       For instance, the plaintiff furnished the Navy with periodic assurances and a
revised schedule of performance. The Navy approved the revised progress schedule,
at the same time notifying Maropakis that any forbearance on its part should not be
construed as waiving contractual remedies. Even with the threat of default termination
and multiple cure notices during late 1999, Maropakis did not request an equitable
adjustment of the contract period or seek to modify the window specifications.

        The first time the plaintiff invoked the window procurement delays as grounds for
an extension was August 20, 2001, two years after the Navy assisted Maropakis in
finding a window subcontractor. In response to the Navy’s liquidated damages notice,
the plaintiff contended that the contract should be extended for various reasons and
time periods -- among those, a 187-day delay during the period from April 22 to
October 25, 1999, during which Maropakis labored to find a satisfactory window
manufacturer. Application for Extension (Aug. 20, 2001), Def. App. at 371-74. The
letter to the contracting officer cited no legal basis for an extension and provided only
the barest of details in summarizing the contractor’s delays.

       In contrast, the claim before us today raises a myriad of detailed objections to
the solicitation. For instance, in its First Amended Complaint, Maropakis avers that “the
specifications required a window which does not exist,” pointing to purportedly
inconsistent descriptions of the product sought and the industry standards cited. First
Am. Compl. at ¶¶ 11-18. Furthermore, the plaintiff contends, the specifications violated
applicable industry standards for water resistance test pressure and air infiltration
pressure. First Am. Compl. at ¶¶ 19-25 and ¶¶ 26-31, respectively. But see Contract
¶¶ 2.1, 2.1.1, 2.1.2 and 2.1.4; Def. App. 287-88 (contract specifications requiring AAMA
and ANSI standards “and the requirements specified herein;” “except as otherwise
indicated;” “and the following, whichever are the more stringent”).

      Certainly, as respects these allegations, the contracting officer cannot be said to
have been given “adequate notice of the basis and amount of [plaintiff’s] claim.”
Contract Cleaning, 811 F.2d at 592. These items have never been presented to the
contracting officer. Consequently, we have no jurisdiction to decide the allegations
concerning defective or ambiguous contract specifications. See Spirit Leveling
Contractors v. United States, 19 Cl. Ct. 84, 90-91 (1989) (finding claim submitted to
contracting officer stated different legal theory than that alleged in complaint).

         Although the issue was never addressed by the contracting officer, the
government correctly argues that the Navy was entitled – or, as we believe, obligated --
to insist upon plaintiff’s compliance with the contract specifications. See Cascade Pac.
Int’l v. United States, 773 F.2d 287, 291 (Fed. Cir. 1985) (and cases cited therein).
Furthermore, the Navy may require Maropakis to comply with performance
requirements in excess of the standards normally accepted in the trade. Blake Constr.
Co. v. United States, 28 Fed. Cl. 672, 688-89 (1993) (citing Ralph Larson & Son, Inc. v.
United States, 17 Cl. Ct. 39, 46 (1989)), aff’d, 29 F.3d 645 (Fed. Cir. 1994).


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        Even had Maropakis’s allegations been presented to the contracting officer for a
final decision, consideration of the issue runs contrary to the accepted principle that
objections to contract specifications, or clarification of patent ambiguities in a
solicitation, must be sought prior to the closing date for bids. Cf. Blue & Gold Fleet,
L.P. v. United States, 492 F.3d 1308, 1313-14 (Fed. Cir. 2007) (applying doctrine of
patent ambiguity in bid protest context, Court notes that the doctrine “was established to
prevent contractors from taking advantage of the government, protect other bidders by
assuring that all bidders bid on the same specifications, and materially aid the
administration of government contracts by requiring that ambiguities be raised before
the contract is bid, thus avoiding costly litigation after the fact.”) (citations omitted);
Erinys Iraq Ltd. v. United States, 78 Fed. Cl. 518, 533 n.7 (2007) (Finding challenges to
solicitation untimely). There has been no showing by the plaintiff that the defects it
complains of were latent defects which could only be determined once performance
had been attempted. Nor has the plaintiff demonstrated that it was impossible to satisfy
the specifications.

        Indeed, it would be hard-pressed to make such a showing given the fact that a
manufacturer eventually provided windows that met the government’s specifications.
See Davies, 35 Fed. Cl. at 670-71 (contractor who eventually performs work in
accordance with the specifications faces “an extraordinarily heavy burden to establish
that the specifications were defective”); Kit-San-Azusa v. United States, 32 Fed. Cl.
647, 657 (1995) (absent evidence of defective design, “unforeseen difficulties” is not a
basis for additional compensation; contractor “has no right to complain if the structure it
ultimately constructed was essentially the same as the one it contracted to construct”)
(citations omitted). In any event, these questions are appropriate for a summary
judgment proceeding, which we find precluded.

       (ii.)   Sequence of Performance

        As we explained earlier, the construction schedule required Maropakis to replace
the monitor windows prior to proceeding with the second phase of performance --
installing the new roofing system. See Contract specification section 01110, ¶¶ 1.4 and
1.5; Def. App. 104; see also Def. App. at 804. In his deposition, design manager
Lonnie Moyer explained that the location of the monitor windows, above the roof,
necessitated the order of the project. Def. App. 726. The Navy’s aim was to avoid
having contractors tread upon a newly installed rooftop while replacing the monitor
windows. Id.

       On several occasions in September 1999, Maropakis asked Navy officials to
permit the contractor to begin work on the roof pending the procurement of monitor
windows and approval of the window replacement phase of the project. The plaintiff’s
requests were denied, and the reasons for the denials explained. See, e.g., Letter of
Lieutenant S.K. Larson, dated Sept. 16, 1999, Def. App. at 404 (“The contract was
written in this manner to meet the building occupant request. The customer needs


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have not changed and therefore window installation must be performed prior to removal
of the existing roof.”); see also Letter of Lieutenant Commander M.A. Weaver, dated
Oct. 22, 1999, Def. App. at 408-09. As a general matter, a procuring agency is entitled
to insist on strict compliance with its solicitation’s requirements. Mega Constr. Co. v.
United States, 25 Cl. Ct. 735, 744 (1992); see Blake Constr. Co., Inc. v. United States,
987 F.2d 743, 747 (Fed. Cir. 1993) (“Contracting parties may freely choose to have
work performed in a specified manner ... even if [it] was not the usual mode.”).

       As we view the record, this issue never matured into a demand for specific relief
or an independent request for additional time. The request to perform work out of
sequence is more aptly described as an attempt by the plaintiff to mitigate its own delay
in procuring the materials required for the first phase of performance. See Response to
Cure Notice, dated Sept. 20, 1999, Def. App. at 405 (“Please be advised that the
window manufacturing time is approximately twelve weeks. If it is necessary to wait for
the window installation prior to the roofing work, the project will incur further delays.”).

       For reasons which remain unexplained, Maropakis failed to raise with the
contracting officer some of the finer points it now raises in its claims before this Court.
See Compl. ¶¶ 45-47. Notably, however, plaintiff’s motion does not seek summary
judgment on an independent “claim” relating to the Navy’s adherence to the contractual
sequence of performance. The issue is mentioned merely as a factor which
exacerbated the delay caused by the allegedly conflicting monitor window
specifications. Plaintiff’s opening brief made no attempt to demonstrate that the
contractor was entitled to have the sequence requirement waived by the Navy. Only in
opposition to the defendant’s cross-motion did the plaintiff address this issue, calling
the agency’s refusal to allow the deviation in work arbitrary and capricious. Plaintiff’s
Opposition (Pl. Opp.) at 6. Here for the first time the plaintiff argues:

       There were two roofs on this project – the principal roof (“the lower roof”)
       and the roof above the monitor windows (“the high roof”). The monitor
       windows were located below the high roof. Maropakis sought to begin
       roof work on the high roof.

                                      *      *       *

       In this instance, there was no threat that the workmen would be walking
       on or otherwise damaging the high roof while working on the monitor
       windows. The United States has not provided any non-arbitrary basis for
       its refusal to allow Maropakis to replace the roof in that area.

Id. at 6-7; see also CSUF ¶¶ 133-35.

       There may be something to this proposition. The contract does provide for
completion of the monitor windows “before roofing installation is done on the main roof
deck,” so as to avoid construction on newly installed roofing. Solicitation, ¶ 1.3(e)

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(emphasis added); but see, Solicitation, ¶ 1.5 (establishing roof work as Task II, to be
performed after removal and installation of window assemblies). If the contract does
not prohibit work on the high roof, but only work on the principal roof, as plaintiff
suggests, then we are at a loss to explain why Maropakis bothered to ask for
permission to proceed as it now proposes.

        We do not express an opinion on the merits of this argument. It is an argument
better made to the contracting officer at a time when it could have had an impact on the
plaintiff’s performance obligations. However, we do note that there is no evidence that
Maropakis ever limited its request to only one portion of the roof. Maropakis promises
only that it will “take all necessary precautions to protect the roof after its installation.”
Def. App. 403. Under the circumstances, this is hardly a clear and unequivocal
assertion of specific rights. Sun Eagle, 23 Cl. Ct. at 471.

         Finally, in the document which the plaintiff describes as its formal claim to the
contracting officer – the August 20, 2001 request for delay delineating several
independent extension periods – the sequence issue is scarcely mentioned. See Def.
App. 371 (“(6) Since there had been difficulty with the window approvals, [plaintiff] had
requested to perform the roofing work prior to the window work. (7) The Navy denied
our request to start roof work prior to window work.”). Never was the Navy’s denial tied
in with the 447-day extension or associated with specific relief or sum certain. Sun
Eagle, 23 Cl. Ct. at 471. Accordingly, the contracting officer did not address the matter
at all in his August 28, 2001, response to Maropakis’s blanket extension request. See
Def. App. 369-70. The plaintiff failed to preserve this claim, quantify its impact, or
demand a final decision from the contracting officer.

       (iii.)   Asphalt Roofing Materials

        As with the previous two items, there is a dearth of contemporaneous evidence
supporting the plaintiff’s claims respecting its attempted use of asphalt on the roof
project. Once again the plaintiff sought to perform contrary to the express terms of the
solicitation without any legal justification or timely objection to the Navy’s requirements.
And, once again, Maropakis failed to cast its requests to the contracting officer in a
manner that contends that the government was responsible for delay.

       The only correspondence concerning the contract’s adhesive materials
requirement is found in Maropakis’s August 20, 2001, extension request. In that
request, plaintiff recounts the following chronology:

       Firestone roofing system with the manufacturers literature was submitted
       for approval on June 25, 1999. On July 19, 1999, the literature was
       disapproved by the Consultant assuming that it is outdated. On
       August 18, 1999, the Navy/Consultant accepted the same literature.
       Maropakis received the approval notice on August 23, 1999.


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       M. Maropakis submitted manufacture’s assembly letter on August 6, 1999,
       indicating the attachment method of fiberboard to the roof system using
       Type III asphalt. On August 9, 1999, the Navy/Consultant accepted this
       method. Therefore, M. Maropakis ordered and delivered Type III asphalt
       to the site. Mr. Rosenberry, Project Manager, from your office noticed the
       delivery of asphalt, gave the location for storage and never objected to the
       delivery and its usage. Mr. Rosenberry never informed M. Maropakis that
       asphalt could not be used.

       The Navy insisted (sic) the use of adhesive instead of asphalt. Therefore,
       M. Maropakis had no choice but to stop preparation for the installation of
       roofing system. We ordered and received adhesive on July 11, 2000 and
       started the installation of roofing system on July 12, 2000. Therefore,
       time lost from June 22, 2000 to July 11, 2000 – total of 20 consecutive
       calendar days.

Def. App. at 374.

        The Navy’s response noted that “Amendment 2 to the contract, issued during
solicitation and acknowledged by your company prior to contract award requires the use
of adhesive.” Def. App. at 369-70. It further observed that “[n]o variation to the contract
was ever requested by your company, in accordance with specification section 01330
paragraph 1.3.3.” Id. With respect to the suggestion that Maropakis was misled,
despite the clear import of Amendment 2, the Navy cited FAR § 52.246-12, pertaining
to inspections for construction contracts. According to that clause, the presence of a
government inspector, and his implicit approval of construction activities, does not
relieve a contractor of its contractual requirements.

       Finally, in addressing the actual period of delay associated with the delivery of
non-conforming materials, the Navy noted that any delay overlapped with other delay
periods and with work on Phase I of the contract; thus, the asphalt mishap had “no
demonstrated impact on [Maropakis’s] schedule.” Def. App. 370. Maropakis was
invited to submit additional information in support of a formal claim. Id. The letter
closed with the following proviso: “This letter is not a Final Decision of the Contracting
Officer.” Id.

       In describing the “claim” presented here, if indeed one has been presented, it is
important to recognize what is not being asserted. The solicitation was amended, prior
to the deadline for receipt of proposals, to require that the successful offeror use
polyurethane foam as adhesive for roof insulation; hot asphalt was not permitted.
There is no dispute that Maropakis understood and agreed to the Navy’s prohibition
against the use of asphalt materials. See Rangwalla depo. at Def. App. 564-65.
Neither the extension request nor the pleadings contend otherwise. See Am. Compl. at
¶ 38 (“The contract documents called for Maropakis to provide non-asphaltic adhesive
materials for the new roof.”).

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        Moreover, Maropakis did not request specific relief from the adhesive
requirements, despite the suggestion in its complaint that “[a]sphalt is frequently used in
the roofing industry as an adhesive for new roofing work.” Am. Compl. at ¶ 37. This is
not a case in which the plaintiff sought a variance in contract specifications that had
subsequently been denied by the contracting officer. See FAR § 52.236-21 (f)
(describing procedure for submitting variations from contract requirements and issuing
modifications thereon). There is also no indication that the plaintiff contends it is legally
entitled to use asphalt in lieu of the materials specified by the amended solicitation.

        At most, Maropakis requested additional time for the period June 22 through
July 11, 2000, the denial of which may or may not have impacted its overall time frame
for completing the project (the window removal and lead abatement procedures had
just begun on June 22, thus the roof work could not have commenced immediately in
any event). This request was premised not on an entitlement to additional time, but
rather on the administrative oversight of both the contractor and the procuring agency.
Certainly, the plaintiff’s letter to the contracting officer made no claim of contractual
breach, as is alleged in the pleadings. See Am. Compl. at ¶ 44 (“The Navy’s untimely
rejection of the asphalt materials was a material breach of the contract, and caused
Maropakis to experience delays, impact and extra costs.”). We cannot consider a legal
theory which has never been presented to the contracting officer for his final decision.
See J. Cooper & Assoc., Inc. v. United States, 47 Fed. Cl. 280, 285-86 (2000) (holding
breach of contract claim was not properly presented to contracting officer, despite
earlier claims based on termination/changes/stop work clauses).

        Interestingly, plaintiff has not moved for summary judgment on this ground, nor
does its opening brief expound upon plaintiff’s theory of breach. The above-quoted
passage from the August 20, 2001, correspondence fails to cite any statutory,
regulatory, or contractual authority in support of its 20-day extension request. A valid
CDA claim is more than a mere request. Whether it is for monetary or nonmonetary
relief, a claim seeks it as a matter of right. Davies, 35 Fed. Cl. at 664 (citing
Reflectone, 60 F.3d at 1576); North Star, 76 Fed. Cl. at 185 (contractor required to
“specifically assert entitlement to the [nonmonetary] relief sought”) (quoting Alliant
Techsystems, Inc. v. United States, 178 F.3d 1260, 1265 (Fed. Cir. 1999)). In the
absence of a specific basis for relief in the plaintiff’s letter to the contracting officer, we
cannot conclude that a CDA claim was pursued below.

       (iv.)   Lead-Based Paint

       In contrast to the other delay issues, the extension necessitated by the discovery
of LBP was addressed more formally by the parties. Both parties recognized that the
unanticipated presence of LBP on the monitor windows caused a period of delay for
which Maropakis should not be responsible. Accordingly, they negotiated a formal
change in the terms of the contract terms – Maropakis submitted a proposal for
abatement work and additional expenses, and the Navy approved a modification which


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resulted in 14 days of additional work and an increase of over $6,000 in the contract
price. Def. App. 416-17.

        Although the 14-day extension was calculated based upon Maropakis’s own
proposal for the abatement project, the contractor ultimately refused to sign the
modification. Apparently Maropakis wanted to seize this opportunity to raise a number
of its other delay matters which were completely unrelated to the abatement
procedures. Def. App. 419 (Rosenberry memo to file); see also Def. App. 420-21
(contract modification with handwritten exceptions). Maropakis proposed a year
extension to account for all of the delays it had encountered. Objection to Modification,
dated June 30, 2000 at Def. App. 422 (request to extend contract completion date 365
days from January 16, 2000 to January 16, 2001).

        Maropakis later honed its LBP delay request. Plaintiff’s July 10, 2000,
correspondence to the contracting officer requested an extension of 122 calendar days
in dealing with the LBP issue -- as the plaintiff explained, the extension represented not
just the 14 days of additional work, but also accounted for the period beginning on
March 7, 2000, when it claims to have been prepared to begin the window removal, and
ending June 22, when the company was cleared to begin window removal and
replacement. Def. App. 425-26.

       One year later, the LBP delay issue reemerged – this time reflected as 107 days,
apparently accounting for the 14-day extension allowed – as part of the omnibus
447-day extension request of August 20, 2001. Def. App. 371-74. It is this request
which the plaintiff maintains as its formal claim for CDA purposes.

       The contracting officer denied the extension on the basis that Maropakis “did not
have the appropriate materials onsite to start work until June 2000.” Def. App. at 369.
Consequently, the period from March 7 through May 31, when delivery of the windows
was made, was attributed to the plaintiff. Id. The math does not work out neatly here.
And there is some question as to when the windows could have been delivered were it
not for the stop work directive. Even the defendant acknowledges that were the LBP
delay claim to survive the Rule 12 motion, the precise time lost as a result of this delay
should be determined at trial, rather than on summary judgment. However, even here
the plaintiff has failed to perfect its claim. Therefore, we decline to consider whether
the additional 107-day extension is justified for the time plaintiff awaited the
government’s direction to proceed with the window removal project.

       Our conclusions are buttressed by the fact that Maropakis never intended to
pursue its complaints at the contracting officer level until confronted with the immediate
threat of liability. A closer look at the core documents -- the August 2001 extension
request and the July 2002 response to the assessment of liquidated damages – is
necessary to put the actions of the parties in context.



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August 20, 2001 Letter is not a CDA Claim

      The defendant argues that Maropakis’s August 20 letter, which was the first all-
encompassing request with periods of delay differentiated and spelled out, cannot be
considered a claim under the CDA. According to the government, this letter did not
demand a sum certain, did not request a final decision of the contracting officer, and
was not certified under 41 U.S.C. § 605(c)(1). See Defendant’s Reply (Def. Reply) at 5.

      The letter has a number of attributes which belie its proposed status as a CDA
demand. First, it was not addressed to the contracting officer. But see Tri-Ad
Constructors v. United States, 21 Cl. Ct. 789, 791-92 (1990) (Contractor satisfied CDA
§ 605(a) despite the fact that its letter was addressed to OIC supervising contract work
as opposed to the contracting officer, where letter expressly “commits the claim to the
contracting officer for a final decision”). Nor, in the case of some of the requests, did it
make a specific claim or establish an entitlement to relief. Moreover, the letter opens:

       We hereby request an extension of contract time on the above contract
       from January 16, 2000 to April 17, 2001, a total of 447 consecutive
       calendar days. This application for an extension of time is based on the
       following ...

Def. App. at 371. The plaintiff did not specifically request a final decision. But see
Transamerica Ins. Corp. v. United States, 973 F.2d 1572, 1576 (Fed. Cir. 1992) (“[a]s
long as what the contractor desires by its submissions is a final decision, that prong of
the CDA claim test is met.”), overruled on other grounds by Reflectone, Inc. v. Dalton,
60 F.3d 1572 (Fed. Cir. 1995). Nor did the contracting officer abandon the hope of
resolving the dispute upon further substantiation of the delays. The government’s
August 28, 2001, response merely advised Maropakis that it had “not presented
sufficient justification to warrant the time extension.” Def. App. at 369. A letter inviting
contractor comment is not a final decision upon which CDA jurisdiction can rest.
Sharman, 2 F.3d at 1570; see Greenhill Reforestation, Inc. v. United States, 39 Fed. Cl.
683, 687 (1997) (finding contracting officer’s letter was “no more than a tentative
determination”). The lack of a final decision, alone, defeats jurisdiction, absent some
evidence that the contractor treated the contracting officer’s failure to render a final
decision as a deemed denial. See Ellett, 93 F.3d at 1541-42 (jurisdiction under CDA
requires both a valid claim and a final decision upon that claim) (emphasis added);
Case, Inc. v. United States, 88 F.3d 1004, 1008-09 (Fed. Cir. 1996); see also Paragon
Energy Corp. v. United States, 227 Ct. Cl. 176,177 (1981) (contracting officer’s decision
is “linchpin” for judicial review).

      Under the totality of circumstances, we find that neither party treated the
August 20 extension request – either the divisible delay periods or the entirety of the
447-day period – as a CDA claim. The advice that the contracting officer’s letter did not


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constitute a final decision, and the invitation to submit additional information supporting
the request, illustrate that the plaintiff’s letter did not have the force and effect of a
contractor claim. The long period of silence following the August 2001 exchange
speaks volumes as to Maropakis’s own disinterest in pursuing a formal claim within the
meaning of the CDA. It is obvious, based on the inaction of the parties, that no final
decision had been sought at that time. See 41 U.S.C. § 605(c)(2) (within 60 days of
receiving certified claim, the contracting officer shall either issue a decision or “notify the
contractor of the time within which a decision will be issued”).

       When it was clear from the plaintiff’s silence that it did not intend to pursue the
extension request – almost a year after the plaintiff’s application for an extension had
been denied -- the contracting officer finally initiated the matter of liquidated damages.
He gave the plaintiff a thirty-day period prior to issuance of a final decision. See
Demand Letter, dated July 18, 2002, Def. App. at 367 (“To date you have not
responded with additional information or requested a Contracting Officers (sic) final
decision for these matters.”).

Maropakis’s July 22, 2002 Letter is not a CDA Claim

         On July 22, 2002, the plaintiff responded to the July 18 demand letter. It finally
argued that Maropakis was not responsible for the delays and that it “will dispute” the
liquidated damages. Def. App. 802. In the letter, the plaintiff raises only the previously
denied 107-day time extension caused by the LBP work stoppage. Id. Yet the plaintiff
still did not provide additional documentation or request a final decision on the previous
447-day extension request. There was no mention in this letter of the delay in procuring
windows, claims respecting defective specifications, objections to the sequence of
performance, or delay associated with the delivery of asphalt roofing materials.
Maropakis also did not raise the 101-day extension for delay in locating a sheet metal
manufacturer. This and the other items of alleged Government-caused delay, originally
included in the 447-day request of August 20, 2001, were dropped from the plaintiff’s
grounds for extended performance time. As the Government argues, “[t]hese
inconsistencies demonstrate that the [plaintiff’s correspondence] does not constitute a
claim for a final decision for a sum certain pursuant to the requirements of the CDA.”
Def. Suppl. at 4.

      We are compelled to agree with the government. The status of the earlier delay
requests, which had all been previously addressed a year earlier and never followed up
on by Maropakis, is unclear in July 2002. At best, a generous reading of the July 22,
2002, correspondence can be interpreted as Maropakis’s request for a final decision on
the government’s liquidated damages assessment.

        The plaintiff contends that its earlier extension requests were disposed of by the
contracting officer’s December 20, 2002, final decision on liquidated damages.
Plaintiff’s Response (Pl. Resp.) at 2. However, the final decision letter mentions neither
previous delay requests nor the plaintiff’s August 2001 correspondence. Def. App. at

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365-66. The final decision does mention “information presented at the 31 October
2002 meeting.” As we indicated earlier, we do not know the agenda for this meeting.

        Mr. Rosenberry’s log makes reference to a proposed meeting “to discuss
[Maropakis’s] request for an extension.” This log entry is dated April 10, 2001, long
before the liquidated damages demand. See Def. App. at 395. In any event, to the
extent this meeting in October 2002 was the plaintiff’s attempt to submit additional
evidence to bolster its extension requests, it only lends further support to the
government’s argument that the earlier requests had not matured into formal claims for
final agency action. See e.g., Sun Eagle, 23 Cl. Ct. at 472 (“[I]t would be inconsistent to
find that plaintiff impliedly requested a final decision when it expressly requested a
meeting to discuss the situation.”). Maropakis’s August 2001 and July 2002 letters
were not contractor claims. Nor was the Navy’s denial of any requested extension a
final decision within the meaning of the CDA. Consequently, with the exception of the
liquidated damages issue, there is no jurisdiction over the plaintiff’s claims. England v.
The Swanson Group, Inc., 353 F.3d 1375, 1379 (2004) (holding the statutory provisions
of CDA require that contractor’s claim was presented to the contracting officer and that
contracting officer rendered a final decision on the claim) (citations omitted).

Certification Requirement for “Set Off” Claims

      Both the 2001 and 2002 letters fall short of a formal claim in yet another
respect – the absence of a certification. Pursuant to the CDA, contractor claims in
excess of $100,000 must be certified, as follows:

       [T]he contractor shall certify that the claim is made in good faith, that the
       supporting data are accurate and complete to the best of his knowledge
       and belief, that the amount requested accurately reflects the contract
       adjustment for which the contractor believes the government is liable, and
       that the certifier is duly authorized to certify the claim on behalf of the
       contractor.

41 U.S.C. § 605(c)(1); see Tecom, Inc. v. United States, 732 F.2d 935, 937 (Fed. Cir.
1984) (applying former $50,000 threshold).

        To date, the plaintiff has not submitted a certified claim with respect to its
assignment of responsibility for delay or to its entitlement to the contract balance. In
defense of its failure to certify its claim, the plaintiff argues that it did not with its August
2001 letter “request additional compensation for delay, extra work, additional work,
differing site conditions, or any other basis.” Plaintiff’s Supplemental Brief (Pl. Suppl.)
at 1. Maropakis did not directly request compensation; it simply requested that the
contract completion date be adjusted by 447 days.

       Plaintiff also contends the subsequent July 2002 correspondence justifying the
delay in performance also did not trigger the CDA’s certification requirement. During

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oral argument Maropakis implied that the extension requests were no longer contractor
claims at that point but challenges to the Navy’s liquidated damages claim.

        Stymied by the contortionist nature of the plaintiff’s arguments, the Court asked
counsel for Maropakis to provide authority in support of the argument that the CDA’s
claim requirements do not apply when those claims arise in the context of a government
claim for liquidated damages. In its supplemental papers, the plaintiff cited two familiar
cases. Maropakis relied primarily on Placeway Constr. v. United States, 18 Cl. Ct. 159
(1989), aff’d in part 920 F.2d 903 (Fed. Cir. 1990). According to the plaintiff, this case
held that “the set off of a contract balance against the amount of liquidated damages is
a government claim, and therefore certification is not required.” Pl. Suppl. at 3 (citing
the trial court opinion, Placeway, 18 Cl. Ct. at 164). For further support, the plaintiff
points to Roxco, Ltd. v. United States, 77 Fed. Cl. 138 (2007), a case in which this
Court purportedly applied this tenet. Id.

        We fail to see how the Placeway decision supports the plaintiff’s arguments. In
that case, the Court of Appeals confirmed that a set off against the balance due for
liquidated damages is a government claim. Placeway v. United States, 920 F.2d 903,
906 (Fed. Cir. 1990). The Court further held that the certification requirement does not
apply to government claims, although such claims do require a final decision of the
contracting officer. Id. at 906-07. The Federal Circuit held that the government’s denial
of the plaintiff’s contract balance, “determine[d] both liability and damages” and,
therefore, constituted a final decision on that governmental claim. Id. at 907. Finally,
the Court found that the determination to withhold the balance as liquidated damages
was a final decision notwithstanding the fact that the contracting officer reserved the
authority to redetermine the amount of the setoff claimed based upon the receipt of
additional information on the actual costs incurred by the government. Id. In sum,
Placeway dealt strictly with the CDA’s requirements for the government’s assessment
of liquidated damages. See Kit-San-Azusa v. United States, 86 F.3d 1175 (Fed. Cir.
1996) (unpub.) at *2 (interpreting Placeway decision).

        This decision has no bearing on the CDA’s requirements for contractor claims.
In fact, the Claims Court considered the very issue raised by the plaintiff in this case
and interpreted the Federal Circuit’s guidance in Placeway. In Sun Eagle Corp. v.
United States, 23 Cl. Ct. 465 (1991), the Court thoroughly addressed the CDA’s
requirements, in particular, the certification requirement, and concluded:

       Placeway held that a contractor’s challenge to a government claim need
       not be certified. This court holds that the plaintiff is challenging a
       government claim to liquidated damages and making its own contractor
       claim to recover amounts withheld for liquidated damages. The latter
       must be certified.

Id. at 477.


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         According to its own theory, Maropakis had already pursued the claims
underlying its appeal of the imposition of liquidated damages. There was just no dollar
figure associated with the claims until the Navy threatened to withhold the balance of
the contract and seek additional payments. This is the precise situation addressed in
Sun Eagle, where the Court found that the contractor was “seeking an adjustment of
contract terms or monetary relief because it defends against the assessment of
liquidated damages on the basis that the Army caused the delay.” Id. at 482.
Irrespective of its impetus, “[t]he claim is a claim by the contractor ... [and] must be
certified, as required by 41 U.S.C. § 605(c).” Id.; see also Elgin Builders, Inc. v.
United States, 10 Cl. Ct. 40, 44 (1986) (“Where ... contractor seeks to contest the
assessment of liquidated damages by claiming entitlement to time extensions or other
relief, the court is presented with a claim by the contractor against the government and
that must first be presented to the [contracting officer].”).

       The plaintiff’s reliance on Roxco is similarly misplaced. That case involved
issues of timeliness and waiver pertaining to certain contractor claims. In the initial
summary judgment proceedings in that matter, the Court applied the Fulford Doctrine
and permitted the contractor to challenge a default termination -- even though it had not
appealed, nor had it intended to appeal, the termination initially -- upon being assessed
excess reprocurement costs by the government. Roxco, Ltd. v. United States, 60 Fed.
Cl. 39, 46–47 (2004). That doctrine has no application in the present matter.

        A subsequent decision in that same matter is cited by the plaintiff for the
proposition that “the imposition of liquidated damages was a government claim, and ..
the Court has jurisdiction over a contractor challenge to a set off even though not
certified.” Pl. Suppl. at 3-4. However, Maropakis fails to place Roxco in its proper
context. A close review of that decision indicates that it has only limited application to
the issue at hand.

        In Roxco, the contractor had submitted a valid claim for equitable adjustment
pursuant to the CDA, alleging defective documents, differing site conditions, and active
interference by the government. Roxco, Ltd. v. United States, 77 Fed. Cl. 138, 140
(2007). Therefore, the jurisdictional adequacy of the contractor’s underlying claims was
not at issue as it is in our case. See id. (The contracting officer “return[ed] Roxco’s
REA without action because Roxco failed to appeal the default termination within the
time provided by the CDA.”). The challenged defect went only to the plaintiff’s claim for
the withheld contract balance – over $772,000 in liquidated damages that the
government offset against the contract -- for which the contractor had not submitted a
separate certified claim to the contracting officer. Id. at 144-45. Applying the “rule in
Placeway,” the Court found that the plaintiff’s request for the outstanding contract
balance was an appeal of the government’s liquidated damages claim, which resulted in
a final decision adverse to the contractor. The plaintiff’s challenge to the government’s
claim thus met CDA prerequisites despite the absence of a separate timely submitted
certified claim for the contract balance. Id. at 148-49.


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        The defendant has no objection, at least not one based on jurisdictional grounds,
to Maropakis’s appeal of the Navy’s $303,550 assessment of liquidated damages.
Therefore, we express no opinion on whether Roxco was a proper extension of the
Placeway decision, and find no reason to consult the case further. Accordingly, we
reject the arguments presented by the plaintiff in its supplemental briefs. We conclude
that any CDA requirements that apply to the relief sought by Maropakis, still apply
regardless of the fact that the same issues are subsequently raised in the context of a
government counterclaim.

II.    Cross-Motions for Summary Judgment

Standards for Summary Judgment

       Summary judgment is appropriate when there are no genuine issues of material
fact and the moving party is entitled to judgment as a matter of law. RCFC 56(c). A
material fact is one that affects the outcome of the motion. Anderson v. Liberty Lobby,
Inc., 477 U.S. 242, 248 (1986). In taking up motions for summary judgment, we view
the evidence in the light most favorable to the nonmoving party, and draw all
reasonable factual inferences in favor of the nonmoving party. Id. at 255.

        In order to meet its initial burden on summary judgment, a party may
demonstrate “an absence of evidence to support [its opponent’s] case.” Sweats
Fashions, Inc. v. Pannill Knitting Co., 833 F.2d 1560, 1563 (Fed. Cir. 1987) (quoting
Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)). Plaintiff’s failure of proof
concerning an element essential to its case on which it will bear the burden of proof at
trial necessarily renders all other facts immaterial and entitles the Defendant to
summary judgment. Dairyland Power Coop. v. United States, 16 F.3d 1197, 1202
(Fed. Cir. 1994) (citing Celotex Corp., 477 U.S. at 323).

Procedural Posture of Motions

         The parties’ Rule 56 submissions are not true cross-motions. As we have
indicated, Maropakis requested summary judgment on only two claims: (1) the claim
that it is entitled to an extension due to the Navy’s allegedly defective window
specifications; and (2) the claim for an additional extension – beyond the 14 days
already approved -- due to the presence of LBP with the duration of the extension
determined at trial. The defendant, on the other hand, requests summary judgment on:
(1) its assessment of liquidated damages against the contractor; (2) the defective
specifications claim; (3) the claim for an extension based on plaintiff’s assertion that the
Navy implicitly waived the non-asphalt materials requirement of the contract; and
(4) plaintiff’s claim that the Navy unreasonably declined Maropakis’s request to alter the
sequence of performance.




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       By virtue of our ruling on the government’s motion to dismiss, it is unnecessary
to render a decision on the plaintiff’s motion or decide the majority of defendant’s
summary judgment grounds. Since Maropakis’s claims have not been properly
presented to the contracting officer for a final decision, we do not comment upon their
merits at this time.

       The government’s counterclaim, on the other hand, does satisfy the jurisdictional
requirements of the CDA. The Navy’s demand for liquidated damages under the
contract – and the plaintiff’s objection to that demand -- resulted in a final decision by
the contracting officer, and is properly before us. See Def. Reply at 4 (“We do not
dispute that this Court possesses jurisdiction to entertain Maropakis’s appeal of the
Navy’s assessment of liquidated damages.”).

Plaintiff’s Liability for Liquidated Damages

       According to the contract’s terms, the contractor may only avoid liability for
delayed performance by pointing to an approved extension. See Contract, ¶ 1.4 (a)
(incorporating FAR § 52.211-12) (“ [i]f the Contractor fails to complete the work within
the time period specified in the contract, or any extension, the Contractor shall pay to
the Government as liquidated damages, the sum of $650 for each day of delay.”)
(emphasis added). As the record now stands, with no jurisdiction to consider plaintiff’s
delay claims, Maropakis is entitled to no such extension.

       In its response to the government’s summary judgment motion, Maropakis raises
no material disputes of fact with regard to the imposition of liquidated damages. Nor
does the plaintiff rely on its earlier unsuccessful attempts to persuade the Navy to
extend the contract. Instead, Maropakis challenges the legitimacy of the government’s
demand for liquidated damages, arguing that the damages imposed in this case
constitute an unenforceable penalty.

      As the U.S. Supreme Court has held, liquidated damages clauses are
enforceable as a matter of law and, in fact, “serve a particularly useful function when
damages are uncertain in nature or amount or are unmeasurable, as is the case in
many government contracts.” Priebe & Sons, Inc. v. United States, 332 U.S. 407,
411-12 (1947). Therefore, these provisions are upheld, provided they represent “fair
and reasonable attempts to fix compensation for anticipated loss caused by breach of
contract.” Id.; see Safeco Credit & Fraley Assoc., Inc. v. United States, 44 Fed. Cl. 406,
412 (1999) (“When the amount of damages is difficult to predict, a liquidated damages
clause will generally be upheld unless the court determines that the parties must have
intended a penalty rather than liquidated damages.”) (citations omitted).

       It is the plaintiff’s burden to establish its defense that a liquidated damages
provision is an unenforceable penalty. See DJ Manufacturing Corp. v. United States,
33 Fed. Cl. 357, 359-60 (1995) (emphasis added). Maropakis has neither alleged nor

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proven any facts which show that the Navy’s liquidated damages constituted a penalty,
as opposed to a “reasonable forecast of just compensation” for the harm caused by the
breach. See Mega Construction Co. v. United States, 29 Fed. Cl. 396, 502 (1993)
(setting forth factors for determining whether liquidated damages clause is proper);
DJ Manufacturing, 33 Fed. Cl. at 360 (Plaintiff did not provide sufficient evidence to
demonstrate that the contracted for rate was an unreasonable forecast of the amount
necessary to provide just compensation). The plaintiff supports its penalty defense
solely on the assertion that the defendant had not been harmed, a factual contention for
which it offers no evidence. Pl. Opp. 3; see First Am. Compl. at ¶ 51 (“Upon
information and belief, the Navy did not incur additional costs justifying the imposition of
liquidated damages.”). In support of its position, Maropakis cites two decisions in which
agency Boards of Contract Appeals declined to impose liquidated damages, finding that
those particular provisions had been intended as a penalty and that there had been no
anticipated damages in the event of delay. See id. at 3-4 (citing Ford Constr. Co.,
AGBCA 241, 72-1 BCA ¶ 9275 and Engineered Electric, 84-2 ENGBCA ¶ 17,216).

       Courts have universally held that a liquidated damages clause is not rendered
unenforceable merely because actual damages are not equal to the contractual liability
incurred as a result of the breach. See Priebe & Sons, 332 U.S. at 412; Fred A.
Arnold, Inc. v. United States, 18 Cl. Ct. 1, 14 (1989); Cegers v. United States, 7 Cl. Ct.
615, 620 (1985). Consequently, the plaintiff’s maxim that there can be no liquidated
damages unless actual damages are incurred is erroneous. On the contrary, these
clauses “are to be judged as of the time of making the contract,” not in the aftermath of
the plaintiff’s breach. Jennie-O Foods, Inc. v. United States, 217 Ct. Cl. 314, 334
(1978) (Government need only show “that the damages claimed were reasonably
anticipated when the contract was formed”) (quoting Priebe & Sons, 332 U.S. at
411-12); see Fred A. Arnold, 18 Cl. Ct. at 14). Liquidated damages have been
enforced against a contractor even where no actual damages were sustained by the
government. See Skip Kirchdorfer, Inc. v. United States, 229 Ct. Cl. 560, 567 (1981).

       One of the factors compelling the parties to enter into an agreement with a
liquidated damages clause is that the extent of harm to the nonbreaching party cannot
be known at the time the parties enter into the contract. See Mega Constr., 29 Fed. Cl.
at 502-03 (liquidated damages enforced where harm “is incapable or nearly incapable
of accurate estimation”). This is particularly true in the construction contract context,
and directly relevant to cases of excessive delay in performance. Here, the
construction project involved a warehouse used by the Defense Logistics Agency “to
store supplies, which it shipped out in response to orders.” Def. Reply at 10; Def. App.
707. At the time the parties entered into the contract, it would have been difficult to
determine the amount of damages that would be caused by a contract breach,
particularly for a project that included the replacement of the warehouse’s windows and
roof. Id.




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       Liquidated damages are the parties attempt to “reasonabl[y] forecast” just
compensation for the breach in advance. Mega Constr., 29 Fed. Cl. at 502. If the
government incurs damages greater than those stipulated in the contract, it is
nevertheless bound to the agreed-upon rate. Id. at 503. The plaintiff now suggests that
the $650/ day rate is a penalty and is unreasonable in light of the damage anticipated.
The plaintiff expressed none of these concerns it now raises when bidding on the
contract, despite the fact that the solicitation clearly spelled out the contractor’s liability
in the event it failed to perform within the contract period. Maropakis also did not raise
an objection to the propriety of the liquidated damages clause, or the rate itself, when
responding to the Navy’s demand letter.

        The contracting officer explained his rationale for incorporating the liquidated
damages clause in the solicitation. His affidavit indicates that he followed the Defense
Federal Acquisition Regulations, the FAR and the Navy Contracting Manual, NAVFAC
P-68, in setting the liquidated damages rate. Def. App. 451-52. There is nothing
improper in using such regulatory guidelines and standardized rates to anticipate
potential damages. See Young Assoc. Inc. v. United States, 200 Ct. Cl. 438, 445
(1973) (liquidated damage schedule need not be “tailor-made for each individual
contract”); Cegers, 7 Cl. Ct. at 619, n.6. In fact, this Court has held that “[t]he
government is entitled to the presumption that damages assessed in accordance with
the NAVFAC P-68 are reasonable.” Safeco, 44 Fed. Cl. at 412 (citing P&D Contractors,
Inc. v. United States, 25 Cl. Ct. 237, 240 (1992)).

       The entire penalty defense issue was given spare treatment – a mere nine lines
of argument – in Maropakis’s opposition to summary judgment. See Pl. Opp. at 3-4.
The plaintiff elaborated slightly on its argument in its supplemental brief following oral
argument. However, that portion of the plaintiff’s brief exceeded the scope of the
Court’s request for additional submissions and is out of order. See Special Procedures
Order ¶ 10 (concerning reply briefs).

        Maropakis would have us presume that the damages provision was
unenforceable based on its unsupported allegation that the Navy suffered no economic
harm as a result of a contract that was delayed over a year. This, despite the fact that
the plaintiff submitted an unqualified bid accepting these terms. See Jennie-O Foods,
217 Ct. Cl. at 337 (Provision should be enforced “[w]here parties have by their contract
agreed upon a liquidated damages clause as a reasonable forecast of just
compensation ...”.); Mega Constr., 29 Fed. Cl. at 502 (Courts “look with candor upon
provisions that are deliberately entered into between parties”) (citations omitted)
(citation omitted).

      The plaintiff has failed to establish a material issue as to whether the
government’s liquidated damages provision was an unenforceable penalty.
Accordingly, it has not met its burden in opposing the defendant’s summary judgment


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motion. Based on the absence of evidence to support the plaintiff’s case, we conclude
that the liquidated damages provision of the contract is valid and enforceable under the
FAR, and was properly applied in this case.

                                       CONCLUSION

        The plaintiff has failed to establish that jurisdiction to consider its claims is proper
under the CDA. Having found that the plaintiff did not submit a valid certified claim for a
final decision to the contracting officer, we hereby GRANT the defendant’s motion to
dismiss, pursuant to RCFC 12 (b)(1).

        We further find that the government is entitled to judgment as a matter of law on
its claim for liquidated damages. Plaintiff is liable for the retained balance of the
contract and an additional $59,514 in liquidated damages. We have not considered the
merits of the remaining grounds for summary judgment, either those asserted by the
plaintiff or by the defendant. In accordance with RCFC 56 (c), the defendant’s
motion for summary judgment is GRANTED-IN-PART and DENIED-IN-PART.
Furthermore, the plaintiff’s motion for summary judgment is DENIED as moot, the
Court having not considered its merits.

      Accordingly, the Clerk is directed to DISMISS the First Amended Complaint
and enter judgment in favor of the Defendant in the amount of $59,514.

IT IS SO ORDERED.


                                              s/ Lawrence M. Baskir
                                             LAWRENCE M. BASKIR
                                                      Judge




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